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12   Schultze Agency Services LLC on behalf of Tweeter Opco,
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13   and Tech Data Product Management, Inc.
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15
                                 UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
17

18    In re: CATHODE RAY TUBE (CRT)                  Master File No. 3:07-CV-05944-JST
      ANTITRUST LITIGATION                           MDL No. 1917
19

20
      This Document Relates To:
21                                                   CERTAIN DIRECT ACTION
      Electrograph Sys., Inc., et al. v. Hitachi,    PLAINTIFFS’ MOTION SUGGESTING
22    Ltd., et al., No. 11-cv-01656;                 REMAND

23                                                   The Honorable Jon S. Tigar
      Electrograph Sys., Inc., et al. v.
24    Technicolor SA, et al., No. 13-cv-05724;

25    Interbond Corp. of Am. v. Hitachi, Ltd.,
      et al., No. 11-cv-06275;
26
      Interbond Corp. of Am. v. Technicolor SA,
27    et al., No. 13-cv-05727;
28

     PLAINTIFFS’ MOTION FOR SUGGESTION OF
     REMAND                                                            Case No. 07-cv-5944 JST (N.D. Cal.)
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         Office Depot, Inc. v. Hitachi, Ltd., et al.,
 1
         No. 11-cv-06276;
 2
         Office Depot, Inc. v. Technicolor SA, et al.,
 3       No. 13-cv-05726;

 4       CompuCom Systems, Inc. v. Hitachi, Ltd.,
         et al., No. 11-cv-06396;
 5

 6       Costco Wholesale Corp. v. Hitachi, Ltd.,
         et al., No. 11-cv-06397;
 7
         P.C. Richard & Son Long Island Corp.,
 8       et al. v. Hitachi, Ltd., et al., No. 12-cv-
         02648;
 9

10       P.C. Richard & Son Long Island Corp.,
         et al. v. Technicolor SA, et al., No. 13-cv-
11       05725;
12       Schultze Agency Servs., LLC v. Hitachi,
13       Ltd., et al., 12 No. 12-cv-02649;

14       Schultze Agency Servs., LLC v. Technicolor
         SA, et al., No. 13-cv-05668;
15
         Tech Data Corp., et al. v. Hitachi, Ltd.,
16       et al., No. 13-cv-00157;
17

18

19             Pursuant to the Court’s Order Granting Plaintiffs’ Administrative Motion for Leave to

20   File a Motion Suggesting Remand (Dkt. 4618, May 2, 2016) and the colloquies with the Court at

21   hearings in this matter on September 20, 2016 (transcript at Dkt. 4923) and September 29, 2016

22   (transcript at Dkt. 4928),1 the undersigned plaintiffs (the “Remand Plaintiffs”)2 hereby move for

23   1
       At the September 20 conference, the Court stated: “I think it's time to let these Plaintiffs file
24   their motion for suggestion of remand if that's the question.” Dkt.4923 at 32.
25   At the September 29 conference, the Court asked whether a motion for suggestion of remand had
     already been filed, and Plaintiffs’ counsel responded: “We have not filed a remand motion as yet,
26   Your Honor, although we do plan to file a motion which says, When you make a final decision
27   on these five, now, motions that are outstanding, and the two Daubert motions, that upon those
     orders, that we be automatically remanded..” Dkt. 4928 at 10-11. The Court responded “I see.
28   Okay. . . . Well, that’s good to know.”

     PLAINTIFFS’ MOTION FOR SUGGESTION OF
     REMAND                                              1                   Case No. 07-cv-5944 JST (N.D. Cal.)
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 1   an order suggesting that their cases be remanded to the transferor courts, to be entered by the
 2   Court upon resolution of the summary judgment and Daubert motions pending before this Court
 3   in the Remand Plaintiffs’ actions.
 4            All but five of the summary judgment motions in the Remand Plaintiffs’ actions have
 5   been resolved. The following summary judgment motions—which the Court has heard argument
 6   on—remain under submission:
 7           Motion for Summary Judgment Based Upon Lack of Evidence of Participation in the
              Alleged Conspiracy by the Hitachi Entities (Dkt. 2976);
 8
             Motion for Summary Judgment (on liability, Illinois Brick, due process, and statute of
 9            limitations) by TDA (Dkt. 2984);
10           Motion for Summary Judgment (on liability) by the Panasonic Entities (Dkt. 3001);
11           Motion for Summary Judgment Based Upon Absence of Evidence of Liability by
              Mitsubishi (Dkt. 3037); and
12
             Motion for Summary Judgment (on liability) by Koninklijke Philips N.V. (Dkt. 3040).
13

14   The following two Daubert motions were made in the Remand Plaintiffs’ actions and have not
15   yet been ruled upon3:
16           Plaintiffs’ Motion to Partially Exclude Expert Report and Opinions of Dr. Ordover (Dkt.
              3170); and
17
             SDI Defendants’ Motion to Exclude Expert Testimony of Dr. Stephan Haggard (Dkt.
18            3172).
19            Once the Court issues orders on the five summary judgment and two Daubert motions
20   identified above, all MDL pretrial proceedings in the Remand Plaintiffs’ cases will be complete.
21
     2
      Electrograph Systems, Inc.; Electrograph Technologies, Corp.; Office Depot, Inc.; CompuCom
22
     Systems, Inc.; Interbond Corporation of America; P.C. Richard & Son Long Island Corporation;
23   ABC Appliance, Inc.; Schultze Agency Services LLC on behalf of Tweeter Opco, LLC and
     Tweeter Newco, LLC; Tech Data Corporation and Tech Data Product Management, Inc.; and
24   Costco Wholesale Corporation.
25   3
       A third Daubert motion, relating to defense expert Daniel Rubinfeld (Dkt. 3176), has not yet
     been resolved. The parties and the Court previously agreed, however, that this motion would not
26   be ruled upon by the MDL court and instead would be adjudicated by the respective remand
27   courts since it is pending only in the Remand Plaintiffs’ cases. See Dkt. 4673, Dkt. 4676
     (“Consistent with the Court’s Order, the parties agree that the Daubert motion at MDL. Dkt. No.
28   3176 should be decided by the remand court.”).

     PLAINTIFFS’ MOTION FOR SUGGESTION OF
     REMAND                                          2                       Case No. 07-cv-5944 JST (N.D. Cal.)
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 1   Accordingly, the Remand Plaintiffs move the Court to enter an order at that time suggesting that,
 2   pursuant to 28 U.S.C. § 1407, JPML Rule 10.1(b)(i), and Local Civil Rule 7-11, the JPML
 3   initiate the process for the remand of their cases from the Northern District of California back to
 4   the respective transferor courts. Upon remand, the transferor courts will obtain jurisdiction over
 5   these actions, which will enable the transferor courts to establish trial dates and a schedule for
 6   trial proceedings.
 7          For the Court’s convenience, the Remand Plaintiffs provide the following list of
 8   transferor courts in which their actions were filed along with the respective individual case
 9   numbers in this Court:
10   Eastern District of New York
11           Electrograph Systems, Inc., et al. v. Hitachi, Ltd., et al., N.D. Cal. No. 3:11-cv-01656
12
             Electrograph Systems, Inc., et al. v. Technicolor SA, et al., N.D. Cal. No. 13-cv-05724
13
             P.C. Richard & Son Long Island Corp., et al., v. Hitachi, Ltd., et al.¸ N.D. Cal. No.
14           3:12-cv-02648
15           P.C. Richard & Son Long Island Corporation, et al. v. Technicolor SA, et al., N.D. Cal.
16           No. 13-cv-05725

17           Schultze Agency Services, LLC v. Hitachi, Ltd., et al., N.D. Cal. No. 3:12-cv-2649

18           Schultze Agency Services, LLC v. Technicolor SA, Ltd., et al., N.D. Cal. No. 13-cv-
             05668
19
     Southern District of Florida
20
21           Interbond Corp. of Am. v. Hitachi, Ltd. et al., N.D. Cal. No. 3:11-cv-06275

22           Interbond Corp. of Am. v. Technicolor SA, et al., N.D. Cal. No. 13-cv-05727

23           Office Depot, Inc. v. Hitachi, Ltd. et al., N.D. Cal. No. 3:11-cv-06276
24
             Office Depot, Inc. v. Technicolor SA, et al., N.D. Cal. No. 13-cv-05726
25   Middle District of Florida
26
             Tech Data Corp., et al. v. Hitachi, Ltd., et al., N.D. Cal. No. 13-cv-00157
27
     Northern District of Texas
28

     PLAINTIFFS’ MOTION FOR SUGGESTION OF
     REMAND                                          3                       Case No. 07-cv-5944 JST (N.D. Cal.)
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             CompuCom Systems, Inc. v. Hitachi, Ltd., et al., N.D. Cal. No. 2:11-cv-06396
 1
     Western District of Washington
 2

 3           Costco Wholesale Corp. v. Hitachi, Ltd, et al., N.D. Cal. No. 11-cv-06397

 4
            The Remand Plaintiffs met and conferred with Defendants regarding their intention to file
 5
     this motion, and Defendants stated that they oppose this motion.
 6

 7
     DATED: October 26, 2016
 8

 9
                                              Respectfully submitted,
10
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     PLAINTIFFS’ MOTION FOR SUGGESTION OF
     REMAND                                         4                      Case No. 07-cv-5944 JST (N.D. Cal.)
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     PLAINTIFFS’ MOTION FOR SUGGESTION OF
     REMAND                                       5                     Case No. 07-cv-5944 JST (N.D. Cal.)
